

People v Fajardo (2022 NY Slip Op 06562)





People v Fajardo


2022 NY Slip Op 06562


Decided on November 17, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 17, 2022

Before: Kern, J.P., Scarpulla, Rodriguez, Pitt, Higgitt, JJ. 


Ind No. 3162/19 Appeal No. 16667 Case No. 2021-02644 

[*1]The People of the State of New York, Respondent, 
vJessenia Fajardo, Defendant-Appellant.


Caprice R. Jenerson, Office of the Appellate Defender, New York (Morgan Reed of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Karl Z. Deuble of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (April Newbauer, J.), rendered April 02, 2021,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 17, 2022
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








